    Case 1:17-cv-04327-LLS-RWL Document 214 Filed 03/30/21 Page 1 of 5
                                                           USDC SON\'
                                                            DOCl \lE \T
                                                           ELEl lRO\ICALLY FILED
UNITED STATES DISTRICT COURT
                                                             I
                                                           DOC#:
SOUTHERN DI STRICT OF NEW YORK
    - - - - - - - - - - -            - -x                    I
                                                            DATE FlLED:_3......,../_
                                                                                '3 _ 0 /_2_\_
     MICHAEL DARDASHTIAN , et al .,                  ·.': :'==-=============:::::.i
                          Plaintiffs ,                    17 Civ . 4327     (LLS)

             - against -                                 MEMORANDUM AND ORDER

        DAVID GITMAN , et al .,

                          Defendants.
       - - - - - - - - - - - - - - - - -x
        Judge Lehrburger recommends that

       Dardashtian is entitled to summary judgment on all of
       his affirmative claims at issue on this motion except
       with respect to the purchase price to be paid upon
       redemption , and on all of Gitman ' s counterclaims with
       the sole, and very limited , exception that Dardashtian
       allegedly breached his fiduciary duty by receiving
       health insurance that Gitman opted not to take , and
       drawing two small distributions while Gitman was
       working full time for another company .

R&R at 2 , Dkt. 209 . " Further , Gitman ' s removal as co - Manager

should be made permanent prior to redemption ." Id . at 35 .

" Summary judgment should be DENIED as premature without

prejudice as to Plaintiffs '        claim for attorney ' s fees ." Id . at

80 .

        Gitman objects to Judge Lehrburger ' s Report and

Recommendation , arguing that it impermissibly resolves disputed

fact is sues and defers to the movant :

             This Court should decline to follow the Report
        since the Reports makes numerous determinations with
        respect to issues of fact that is exclusively reserved
        for the trier of facts. The Report disregards factual
        disputes and makes factual determinations after
        improperly weighing the factual issues by giving


                                         - 1-
     Case 1:17-cv-04327-LLS-RWL Document 214 Filed 03/30/21 Page 2 of 5



      deference to the movant with respect to the issues
      that are present in this case .

Obj . to R&R at 2 ; see also id . at 7 ("The Report completely

discredits David Gitman ' s affidavit rather than giving

reasonable deference to David Gitman ' s affidavit as the

nonmovant in this summary judgment motion." )

      As Judge Lehrburger explained ,

      the court must inquire whether "there is sufficient
      evidence favoring the nonmoving party for a jury to
      return a verdict for that party ." Anderson , 477 U. S .
      at 249 . Summary judgment ma y be granted , however ,
      where the nonmovant ' s e v idence is conclusory ,
      speculative, or not significantly probative . Id. at
      249 - 50 . If there is nothing more than a "metaphysical
      doubt as to the material facts, " summary judgment is
      proper. Matsushita Electric Industrial Co . v . Zenith
      Radio Corp ., 475 U. S. 574 , 586 (1986) .

R&R at 34 ; see also Weeks v . ARA Servs ., 869 F . Supp . 194 ,

196 (S . D. N . Y. 1994)    ("Ge~eralized and conclusory affidavits

are insufficient to withstand defendants ' motion for

summary judgment.").

      Judge Lehrburger correctly found that Gitman offered

insufficient admissible e v idence to support his assertions

beyond his own conclusory affidavit , and that no reasonable

juror could believe most of those assertions.                 1   For instance ,

Judge Lehrburger found that




      1  On those few issue s he found sub j ect to re as onable di s put e , J udge
Leh rburger r ecommended that s ummary judgment be d e nied .



                                           -2-
    Case 1:17-cv-04327-LLS-RWL Document 214 Filed 03/30/21 Page 3 of 5



           Gitman ' s attempt to justify his actions as
     protecting CSV and ChannelReply rather than harming
     them are without any evidentiary basis . ( See Gi tman
     Aff . ~~ 112 , 135 ( " [I] believ[ed] I was protecting the
     interests of the Company " and "I never intended to use
     the money for my benefit. " ) .) To recap , there is no
     evidence that , or explanation (let alone one that a
     reasonable juror could find ) why , the measures he took
     - depleting CSV ' s bank account , transferring assets to
     himself and to CRINC , depriving Dardashtian of access
     to virtually all ChannelReply data and operations ,
     etc . - were necessary to accomplish the sale of NDAP.
     Nor is there any evidence of an actual agreement to
     give Gitman a controlling 67 . 5 % of ChannelReply or any
     explanation of how the steps Gitman took were meant
     " to formalize the agreed upon ownership percentages ."
      (SUF Response~ 42 . ) And , no reasonable juror could
     find that Gitman acted on advice of CS V' s corporate
     counsel , because the lawyer Gitman retained - with CSV
     funds - to advise him about CRINC was his personal
     attorney . (See 6/8/2017 Tr . at 2 ) (attorney Farooq
     stating to the Court that " I represent David Gitman
     and DalvaVentures , LLC , and Channel Reply , Inc ." ).) No
     reasonable juror could find that Gitman acted for the
     good of CSV or its businesses as opposed to Gitman ' s
     own self - interest .

R&R at 37 - 38 ; see also id . at 47   ("Nor can it be genuinely

disputed that Gitman breached his fiduciary duty not only

to CSV but also to Dardashtian , his co - Manager and co -

Member ." ) , 49   ("Gitman ' s indisputable breaches of the CSV

Operating Agreement have been discussed above in the

context of CSV ' s right to redemption and Gitman ' s acts of

misconduct ." ) , 7 - 9 (Gitman presents no evidence beyond his

own conclusory , counterproductive affidavit to dispute

Dardashtian ' s evidence that ChannelReply is a proprietary




                                    - 3-
    Case 1:17-cv-04327-LLS-RWL Document 214 Filed 03/30/21 Page 4 of 5



trade secret) , 57   ("Plaintiffs have presented indisputable

evidence that Gitman converted CSV's property ." ) .

     This Court adopts Judge Lehrburger ' s Report and

Recommendation in its entirety.

     It is ORDERED that

     1. Summary judgment is granted to plaintiffs on Counts Two,

Five , Seven , Ten , Twelve , Eighteen , Nineteen , and Twenty of the

Amended Complaint , except with respect to the purchase price for

redemption under Count Twenty.

     2 . Defendant David Gitman is permanently removed as co -

manager of the plaintiff companies.

     3 . Determination of the purchase price for redemption of

defendant David Gitman ' s interests in the plaintiff companies ,

pursuant to Section 11 . 5 of the CS V Operating Agreement , is

referred to Magistrate Judge Lehrburger for his report and

recommendation .

     4 . Summary judgment is granted to plaintiffs dismissing all

of defendants ' Counterclaims First through Ninth, except denied

with respect to the Second Counterclaim for Gitman ' s individual

claim for breach of fiduciary duty , limited solely to the issue

of the propriety of Dardashtian ' s receipt of health insurance

and $10,000 in distributions .




                                   - 4-
     Case 1:17-cv-04327-LLS-RWL Document 214 Filed 03/30/21 Page 5 of 5




         6 . Defendants '   request for a jury trial is stricken as

contractually waived pursuant to Section 17 . 9 of the CSV

Operating Agreement .

         7 . Summary judgment is denied as premature without

prejudice as to plaintiffs '        claim for attorney ' s fees .


     So ordered .

Dated:     March 30 , 2021
           New York , New York


                                                 LOUIS L . STANTON
                                                     U. S . D. J .




                                        -5 -
